                                            22CVDC-00115                                               Filed for Record at
                                                                                                      5/30/2023 8:36 AM
   Case 4:23-cv-00675-Y Document 1-12 Filed 06/29/23                   Page 1 of 6    PageID 51 Susan Culpepper
                                                                                         Clerk of the 266th District Court
                                                                                                    Erath County, Texas


                                      CAUSE NO. 22CVDC-00115

JONATHAN UBBENGA                               §         IN THE DISTRICT COURT OF
                                               §
        Plaintiff                              §
                                               §
VS.                                            §         ERATH COUNTY, TEXAS
                                               §
TARLETON STATE UNIVERSITY                      §
                                               §
        Defendant                              §         266th JUDICIAL DISTRICT


                          PLAINTIFF’S SECOND AMENDED PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES, Jonathan Ubbenga (hereinafter sometimes referred to as “Plaintiff”),

Plaintiff herein, complaining of Tarleton State University (hereinafter, referred to as “TSU”),

Aaron Meade (hereinafter referred to as “Meade”), and Lonn Reisman (hereinafter sometimes

referred to as “Reissman”). The three defendants will be referred to jointly as “Defendants”. For

cause of action, Plaintiff would respectfully show the Court the following:

                                                   I.

                                     DISCOVERY CONTROL PLAN

        Discovery in this case is intended to be conducted under Level 3 in accordance with the

Texas Rules of Civil Procedure, Rule 190.1.

                                                   II.

                                        CLAIM FOR RELIEF

        Plaintiff seeks only monetary relief of $100,000.00, or less, excluding interest, statutory or

punitive damages and penalties, and attorney’s fees and costs.




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                                                 III.

                                             PARTIES

        Plaintiff Jonathan Ubbenga is an individual currently a resident of the State of Texas. As

required by the Texas Civil Practice & Remedies Code, 30.014, the last three digits of Plaintiff’s

social security number and Texas driver’s license numbers are 582 and 140, respectively.

        Defendant, Tarleton State University is a state university with its principal location in Erath

County, Texas, and has already entered its appearance in this cause.

                                                 1V.

                                         JURISDICTION

        Plaintiff resides in the State of Arkansas and was previously an employee of TSU.

        Defendant is a Texas University in the Texas A&M University System and was once the

employer of Plaintiff.

        Meade is an individual who resides in the State of Texas and may be served at TSU.

        Reisman is an individual who resides in the State of Texas and may be served at TSU.

                                                  V.

                                              VENUE

        Venue is proper in Erath County under § 15.002 of the Texas Civil Practice and Remedies

Code because all or a substantial part of the events or omissions giving rise to the claims stated

herein arose in Tarrant County.

                                                 VI.

                                               FACTS

        Plaintiff is a baseball coach who was hired by Defendant in August of 2019 to be an

assistant coach of the men’s baseball team at Defendant. Ubbenga’s hiring was with the


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understanding that he would be offered year-to-year renewable contracts each year with Defendant

so long as his performance was satisfactory. This gave Ubbenga not only a one year contract each

year, but also an expectation of continuous employment as a property right in a tenure-like

employment situation. Each year of his employment, Plaintiff was presented a document entitled

“Memorandum of Understanding” which purported to set forth the terms of the employment

contract between Plaintiff and Defendant. In some years, such as 2022, when the document was

presented to Plaintiff, it had already been signed by the Vice President of Intercollegiate Athletics,

the individual to whom was delegated the responsibility of approval of such contracts each year.

Plaintiff would sign it and return it to the appropriate individual at the University to receive such

contracts.

        In May of 2022, Plaintiff received his proposed contract (the Agreement) for the term of June 1,

2022, through May 31, 2023. It had been signed by Lonn Reisman, the Vice President of

Intercollegiate Athletics for Defendant, and on May 26, 2022, Plaintiff executed the agreement

and returned it to Defendant, and on June 1, 2022, Plaintiff began working under the new contract.

On June 2, 2022, Plaintiff’s wife gave birth to a new daughter.

        On June 6, 2022, Aaron Meade, the head coach of the men’s baseball team at Defendant,

called Plaintiff into his office and told him words to the effect that: "Man this is the hardest thing

I've ever had to do but we are going to go in another direction and let you go. I just need someone

that can come in and really get after it and with you and your wife having the new baby, I just don't

think it's fair to ask of you to be out on the road recruiting all the time. I need someone who can

sometimes even be on the road for 14 days straight. I just don't think that would be fair to you or

your family, so we are letting you go." Consequently, Coach Meade informed Plaintiff that he was

giving him notice of his dismissal and Plaintiff was later given written notice dated June 24, 2022,


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that his dismissal would be effective July 12, 2022. Plaintiff was not terminated for “cause” and

under paragraph 6 of the Contract was entitled to be paid an amount equal to the base salary

payable during the remaining term of the Agreement. Plaintiff’s base salary under the Agreement

was $46,000, and he was actually paid $5,333.66 from June 1, 2022, through July 12, 2022, and

he is entitled to recover $40,666.34 under the Agreement.

                                                VII.

         DEPRIVATION OF PROPERTY RIGHT, DECLARATORY JUDGMENT

        The action of Defendant in terminating the employment of Plaintiff and refusing to pay

Plaintiff the amounts owed under the Agreement when he was terminated by Defendant constitutes

a deprivation of his property right in the position he held, for which Plaintiff has been damaged in

an amount within the jurisdictional limits of the Court. Before the filing of this Petition, Plaintiff

made written demand for payment upon Defendant, but no such payment has been forthcoming,

in whole or in part. Plaintiff seeks a declaratory judgment that his rights have been violated. As a

result of Defendant’s deprivation of Plaintiff’s property rights. Plaintiff has already been damaged

in the amount of at least $40,666.34.

                                                VIII.

                                     SECTION 1983 VIOLATION

        Defendant’s termination of Plaintiff because he had just become a parent again was

arbitrary and capricious and constituted unlawful discrimination violating both the Texas and

United States Constitutions in that it violated Plaintiff’s constitutional right to procreate.

Defendants’ actions are in violation of 42 USC §1983 in that the Defendants have violated

Ubbenga’s privacy rights and his right to a good reputation under color of state law.




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                                                  IX.

                                       ATTORNEYS’ FEES

        As a result of Defendants’ unlawful actions set forth herein, Plaintiff has been required to

retain the services of the law firm of David Fielding, pc to represent its interests and is entitled to

recover of and from Defendant all reasonable attorney’s fees to compensate such attorneys for

their services performed in connection with this lawsuit. Defendant should be ordered to pay all of

Plaintiff’s reasonable attorney’s fees incurred or paid herein.

                                                  X.

                                         JURY DEMAND

        Plaintiff hereby demands trial by jury as to all issues so triable.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that the Defendant be cited to

appear and answer herein, and that, upon final trial of this cause, Plaintiff have judgment against

Defendant in an amount within the jurisdictional limits of this Court, that Plaintiff recover interest

on the judgment at the legal rate, pre-judgment interest, costs of court, reasonable attorney’s fees,

and such other and further relief, both general and special, legal and equitable, to which Plaintiff

is justly entitled.

                                               Respectfully submitted,

                                               /s/ David Fielding
                                               David Fielding
                                               State Bar No. 06974500

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Envelope ID: 76084014
Filing Code Description: Amended Filing
Filing Description: Plaintiff's Second Amended Petition
Status as of 5/30/2023 8:43 AM CST

Associated Case Party: Jonathan Ubbenga

Name             BarNumber   Email                   TimestampSubmitted Status

David Fielding   6974500     dfielding@fieldingpc.com 5/30/2023 8:36:53 AM   SENT



Associated Case Party: Tarleton State University

Name               BarNumber Email                            TimestampSubmitted    Status

Zachary L.Rhines                zachary.rhines@oag.texas.gov 5/30/2023 8:36:53 AM   SENT
